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                         UNITED STATES DISTRICT COURT
14
                        CENTRAL DISTRICT OF CALIFORNIA
15
16 FRANCESCA GREGORINI,                        Case No. 2:20-cv-00406-SSS-JC
17                          Plaintiff,         DEFENDANTS’ TRIAL BRIEF
18         vs.                                 Trial: January 13, 2025
19 APPLE INC., a California corporation;
   M. NIGHT SHYAMALAN, an
20 individual, BLINDING EDGE
   PICTURES, INC., a Pennsylvania
21 corporation; UNCLE GEORGE
   PRODUCTIONS, a Pennsylvania
22 corporate; ESCAPE ARTISTS LLC, a
   California limited liability company;
23 DOLPHIN BLACK PRODUCTIONS, a
   California corporation; TONY
24 BASGALLOP, an individual; ASHWIN
   RAJAN, an individual; JASON
25 BLUMENTHAL, an individual; TODD
   BLACK, an individual; STEVE TISCH,
26 an individual; and DOES 1-10, inclusive,
27                          Defendants.
28


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 1         Pursuant to Local Rule 16-10, defendants Blinding Edge Pictures, Inc.
 2 (“Blinding Edge”), Uncle George Productions, LLC (“Uncle George”), Apple Inc.
 3 (“Apple”), Escape Artists, Inc. (erroneously sued as Escape Artists LLC) (“Escape
 4 Artists”), Dolphin Black Productions (“Dolphin Black”), M. Night Shyamalan,
 5 Tony Basgallop, Ashwin Rajan, Jason Blumenthal, Todd Black, and Steve Tisch
 6 (collectively, “Defendants”) submit the following trial brief.
 7                       DEFENDANTS’ STATEMENT OF THE CASE
 8         Plaintiff Francesca Gregorini claims that Episodes 1-3 of Defendants’ series
 9 Servant infringe the copyright in her little-watched 2013 film, The Truth About
10 Emanuel (“Emanuel”), despite extensive and undisputed evidence that writer Tony
11 Basgallop began writing Servant years before Emanuel’s creation. Moreover,
12 Plaintiff has no evidence that any of the creators of the allegedly infringing episodes
13 had access to Emanuel, nor can she show that the works are substantially similar.
14 This is because Servant was independently created over the course of 15 years,
15 involving hundreds of people over the years to bring the series to life.
16         Plaintiff contends that Defendants engaged in a grand conspiracy to copy
17 almost every aspect of her film in making Episodes 1-3 of Servant, including the
18 plot, characters, directing, camera angles, techniques, lighting, props, set design,
19 location, and even casting, and she wants windfall damages flowing from 37
20 episodes she does not even contend are infringing. The evidence at trial, however,
21 will tell an entirely different story.
22   A.     Defendants Independently Created Servant Over the Course of 15 Years
23         The evidence will show that Defendants independently wrote, directed,
24 produced, and distributed Servant. Independent creation is a “complete defense to
25 copyright infringement.” Rentmeester v. Nike, 883 F.3d 1111, 1117 (9th Cir. 2018).
26 In 2005—almost a decade before Emanuel was released—creator Mr. Basgallop
27 began writing much of what was to become Servant. From the beginning,
28 Mr. Basgallop’s script was informed by real life. Around this time, he and his wife

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 1 hired a religious teenage nanny so his wife could return to work. His early drafts,
 2 which pre-date Emanuel, included many of the allegedly infringing elements and
 3 share a throughline with the ultimate episodes of Servant. For instance, the story of
 4 an urban professional couple in their thirties with a three-month-old baby hiring a
 5 mysterious and religious teenage nanny who disrupts their lives was written by Mr.
 6 Basgallop between 2005 and 2007.
 7         Over the years, Mr. Basgallop kept tinkering with the script (at the time
 8 called Practically Perfect), at one point reworking it as a feature film and a novel.
 9 Between 2007-2012, for instance, he began to flesh out additional plot points, as
10 well as some of the cinematography, props, and script directions. Plaintiff claims
11 many of these elements were also copied from her, but they were created years
12 before her film was released.
13         Just as Mr. Basgallop’s early drafts reflected events in his own life, his
14 revisions were informed by and drawn from his intervening experiences. In 2012,
15 he moved to Los Angeles to advance his career, and in 2014 found himself writing
16 for the supernatural show Resurrection, which involved dead people coming back to
17 life. It was then that Mr. Basgallop watched an episode of The Leftovers—a series
18 dealing with themes of grief and loss, like Resurrection—that included a scene in
19 which a grieving mother finds hyper-realistic, life-size dolls based on her
20 disappeared family members. Discussing the episode later in the Resurrection
21 writers’ room, Mr. Basgallop learned about the use of reborn dolls as grief therapy.
22         In October 2016, looking for his next project, Mr. Basgallop decided to
23 revisit Practically Perfect. He wrote a reborn doll into the first episode, with the
24 doll turning into a baby at the episode’s end and sparking the show’s central
25 questions concerning the supernatural, resurrection, and the occult. He shopped this
26 revised script to Defendant Escape Artists, which in March 2017 attracted the
27 attention of M. Night Shyamalan, one of the world’s most sought-after filmmakers
28 in the supernatural genre. Mr. Shyamalan, who wrote and directed the 1999 hit The

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 1 Sixth Sense, is known for incorporating similarly eerie, unexpected twists involving
 2 the living and the dead into his films. In September 2017, after receiving the script
 3 for the third episode, Mr. Shyamalan officially signed onto the project. With Mr.
 4 Shyamalan’s established name, brand, and reputation attached to it, the series was
 5 pitched to Apple in January 2018, who ordered it in February of that same year. By
 6 the time Apple received the scripts for Episodes 1-3, all of the scripts’ allegedly
 7 copied elements were already included.
 8         Significantly, Plaintiff has not a shred of documentary evidence that anyone
 9 involved in Servant—including Defendants—ever discussed or even mentioned
10 Emanuel. Numerous people collaborated on Servant’s production, which involved
11 hundreds of creative decisions over approximately one year for the first season
12 alone. If they had conspired to copy Emanuel, as Plaintiff claims, it is unbelievable
13 that this collaboration would not have produced even one email or communication
14 in which somebody working on Servant discussed her film. The only plausible
15 explanation is the truth: Servant was independently conceived.
16   B.     Plaintiff Is Suing Over A Copyright She May Not Own and Elements
17          She Took from Someone Else
18         As a threshold issue of her infringement claim, Plaintiff must first prove to
19 the jury that “she owns the copyright in the infringed work.” Williams v. Gaye, 895
20 F.3d 1106, 1119 (9th Cir. 2018). To do this, Plaintiff must overcome numerous
21 factual disputes revealed during discovery as to who, or who all, may own the
22 copyright to the Emanuel film. See Dkt. 364 (Defendants’ brief regarding
23 ownership). Further, she must have a valid registration to bring this suit.
24         The evidence will show that Plaintiff’s copyright ownership is uncertain. In
25 2019, Plaintiff purportedly had an entity named Emanuel Film, LLC assign its
26 rights to the film over to her in her individual capacity. This assignment was the
27 basis for her claim of copyright ownership in her 2019 copyright registration
28 application for the film. But Emanuel Film, LLC—which had multiple members

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 1 and more than a dozen investors—had been dissolved years before and ceased to
 2 exist at the time of the purported assignment, rendering it incapable of transferring
 3 any copyrights. See Blackthorne Publ’g v. Black, 2000 WL 123225, at *2 (9th Cir.
 4 2000) (plaintiff failed to obtain copyright ownership through assignment from
 5 suspended assignor corporation). Moreover, multiple other entities have asserted
 6 ownership over the film’s copyright.
 7         Nor is Plaintiff, as she maintained for years, the sole author of Emanuel.
 8 Instead, Emanuel is based on a story owned by her former close friend, Sarah
 9 Thorp, who has a “Story by” credit on the film. Plaintiff did not initially have
10 permission from Ms. Thorp to use her story, while privately admitting that Ms.
11 Thorp was the inspiration. Plaintiff also falsely told the Copyright Office that Ms.
12 Thorp’s contributions were made as works for hire when they were not, and has
13 taken inconsistent positions that Ms. Thorp’s contributions are unprotectable for
14 purposes of copyright registration but protectable to show substantial similarity
15 between Emanuel and Servant.
16         Plaintiff’s behavior regarding the origin and inspiration for Emanuel
17 undermines her claims and calls into question the validity of Plaintiff’s purported
18 copyright registration in the film because her application contained knowing and
19 material inaccuracies concerning Emanuel’s origin. Unicolors v. H&M Hennes &
20 Mauritz, 52 F.4th 1054, 1067 (9th Cir. 2022). Without a valid copyright
21 registration, she cannot bring suit. 17 U.S.C. § 411(a) (only parties with valid
22 copyright registrations may initiate infringement lawsuits).1
23
24         1
           Plaintiff responds that Ms. Thorp’s contributions to Emanuel are not
25 protectable. But Plaintiff herself stated that Ms. Thorp’s story, at a minimum,
26 “inspire[ed]” Emanuel and “g[ave] birth to a script in my mind,” making her sworn
   interrogatory response false. See Dkt. 364 at 9 (JTX0007, JTX0009, JTX2047).
27 Moreover, she improperly wields Ms. Thorp’s contributions as a sword against
28 Defendants, claiming Servant copies Emanuel’s use of a grieving mother
   delusionally believing her deceased child to still be alive.
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 1   C.     Whether Defendants Had Access to Emanuel Is Entirely Speculative
 2         There is no evidence that the creators of Servant Episodes 1-3 had access to
 3 Emanuel prior to this lawsuit. Instead, Plaintiff’s entire access theory relies on
 4 inferences of access based on the purportedly widespread dissemination of
 5 Emanuel, and purported chains of events linking Emanuel with Defendants. Loomis
 6 v. Cornish, 836 F.3d 991, 994 (9th Cir. 2016). The evidence does not bear this out.
 7         Widespread dissemination can be proven by establishing that the film had a
 8 “substantial” degree of success. Cope v. Warner Records, 2023 WL 11827959, at
 9 *4 (C.D. Cal. June 5, 2023). “[M]ere availability” is insufficient. Id. Plaintiff will
10 try to inflate Emanuel’s success by touting its inclusion at the 2013 Sundance Film
11 Festival, its theatrical release, and its accessibility on streaming and on-demand
12 services. The evidence, however, will show that her film had minimal reach. It was
13 one of 113 films at Sundance—which Defendants did not attend—where it failed to
14 generate industry buzz, pick up any awards, or secure a distribution sale. Later, it
15 performed poorly at the box office, where it grossed only about $4,000 in theaters
16 that Plaintiff rented out herself, and garnered just a small amount of views online.
17         Plaintiff’s chain-of-events theory is similarly speculative. She has argued
18 that she may have been pitched to direct an episode of Berlin Station while Mr.
19 Basgallop was working on that show in March 2017; that certain Apple employees
20 may have encountered Plaintiff’s film while working for another company on the
21 TV series Electric Dreams in 2017; and that Plaintiff was submitted (but not
22 chosen) as a potential director for Servant in 2018. She has no evidence of access
23 by Mr. Shyamalan, the director of Episode 1, who her own expert doubts would
24 have ever watched Emanuel. She also has no theory of access by Mr. Sackheim, the
25 director for Episodes 2 and 3.
26         Critically, the few touchpoints she may have had with Mr. Basgallop or
27 certain Apple employees came after Servant’s first three episodes were already
28 written, and all of the alleged scripted similarities between Emanuel and Servant

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  1 predate Apple’s involvement in the project. But even if this were enough to support
  2 an inference of access, “[a]ccess does not obviate the requirement that the plaintiff
  3 must demonstrate that the defendant actually copied the work.” Skidmore as Tr. for
  4 Randy Craig Wolfe Tr. v. Led Zeppelin, 952 F.3d 1051, 1069 (9th Cir. 2020). As
  5 discussed supra § I.A, Plaintiff cannot demonstrate that anything was copied from
  6 Emanuel. Because it was not.
  7   D.     Servant and Emanuel Are Not Substantially Similar
  8         In 2022, the Ninth Circuit revived Plaintiff’s claims that Servant infringed
  9 Emanuel to allow her an opportunity to conduct discovery on substantial similarity.
10 Gregorini v. Apple, 2022 WL 522307, at *1 (9th Cir. Feb. 22, 2022). That
11 opportunity has come to naught. After more than two years of extensive discovery,
12 Plaintiff has uncovered no evidence to support her belief that Episodes 1-3 of
13 Servant and Emanuel share “substantial similarities … in protectable expression.”
14 Skidmore, 952 F.3d at 1064 (emphasis in original). Instead, discovery has only
15 further accentuated the dissimilarities between the works.
16          This Circuit determines substantial similarity based on an objective
17 (“extrinsic”) and a subjective (“intrinsic”) comparison of the works. See Benay v.
18 Warner Bros. Ent., 607 F.3d 620, 624 (9th Cir. 2010); Funky Films v. Time Warner
19 Ent., 462 F.3d 1072, 1077 (9th Cir. 2006). Objectively, many of the elements
20 Plaintiff alleges to be infringing are generic, scenes a faire, based on real facts, or
21 otherwise unprotectable ideas. For instance, the fact that reborn dolls are used as a
22 form of grief therapy is not “protectable expression[]” that may result in
23 infringement liability. See, e.g., Benay, 607 F.3d at 624-625. Put simply, Plaintiff
24 cannot own the idea of a grieving mother hiring a nanny to care for a doll—even a
25 hyper-realistic doll—in place of a child who had died, or any of the similarities that
26 naturally flow from these ideas.
27          Subjectively, once jurors watch Servant and Emanuel, it will be obvious to
28 the “ordinary, reasonable person” that “the total concept and feel of the works” are

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  1 significantly different. Williams, 895 F.3d at 1119 (citation omitted). Plaintiff will
  2 try to cherry-pick “random similarities scattered throughout … the works” to argue
  3 that the selection and arrangement of these unprotected elements is protected.
  4 Skidmore, 952 F.3d at 1075. But copyright protection extends to “a combination of
  5 unprotectable elements … only if those elements are numerous enough and their
  6 selection and arrangement original enough that their combination constitutes an
  7 original work of authorship.” Satava v. Lowry, 323 F.3d 805, 811 (9th Cir. 2003)
  8 (emphasis added). See also Skidmore, 952 F.3d at 1075; Gilbert-Daniels v. Lions
  9 Gate Ent., 2024 WL 5116299, at *2 (9th Cir. Dec. 16, 2024) (affirming summary
10 judgment for lack of substantial similarity and finding no viable selection-and-
11 arrangement theory “because there is no ‘striking’ similarity between the two
12 works’ sequence and arrangement of unprotectable elements”). As the District
13 Court observed after independently reviewing the works and dismissing this case
14 four years ago, “the alleged overlap between Emanuel and Servant is not pervasive
15 enough or substantial enough to demonstrate substantial similarity based on a
16 ‘selection and arrangement’ theory.” Dkt. 39.
17                          ANTICIPATED UNRESOLVED ISSUES
18          For the Court’s convenience, Defendants identify the following issues they
19 anticipate will require decision before or during trial.
20    A.    Plaintiff May Not Argue Striking Similarity at Trial
21          Plaintiff should be prohibited from making any argument, or introducing any
22 testimony, that Emanuel and Servant are “strikingly similar” at trial. The Court
23 already decided on summary judgment that it “does not find the works to be
24 strikingly similar[.]” Dkt. 337 at 7. “Issues that have already been decided by the
25 court have no probative value at trial[.]” Pacira Pharms. v. Rsch. Dev. Found.,
26 2024 WL 4190043, at *4 (D. Nev. Sept. 13, 2024) (citing Galen v. Ave. of the Stars
27 Assocs., 2011 WL 837785, at *2 (C.D. Cal. Mar. 1, 2011) (excluding testimony
28 about issues already ruled on at summary judgment)); Bob Barker Co. v. Ferguson

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  1 Safety Prods., 2007 WL 4554012, at *1 (N.D. Cal. Dec. 4, 2007) (granting motion
  2 in limine “to disregard evidence probative of breach as it relates to issues already
  3 decided on summary judgment”). See also Sky Zone v. Flip N Out, 2015 WL
  4 4548694, at *2 (D. Nev. July 28, 2015) (“[T]he court will not revisit at trial any
  5 issues already decided … on summary judgment.”).
  6   B.     Whether the Jury May Hear Disputed Evidence Concerning Plaintiff’s
  7          Copyright Ownership and Registration
  8         On December 20, 2024, and pursuant to Federal Rule of Civil Procedure
  9 56(f), the Court ordered the parties to submit briefing addressing issues of copyright
10 ownership and registration. Dkt. 361. Those briefs were submitted on January 3,
11 2025 and remain pending. Dkts. 364, 366.
12          Defendants will not repeat all those arguments here but, in short, whether
13 Plaintiff owns a valid copyright in the Emanuel film and whether she holds a valid
14 copyright registration are separate and distinct issues each involving disputed issues
15 of fact. The Court should not relieve Plaintiff of her burden of establishing the
16 “threshold question” of ownership of the copyright at issue. Lamps Plus, Inc. v.
17 Seattle Lighting Fixture Co., 345 F.3d 1140, 1144 (9th Cir. 2003). See Williams,
18 895 F.3d at 1119 (plaintiff must prove to the jury that “she owns the copyright in
19 the infringed work”). A ruling from the Court that Plaintiff established ownership
20 of the film would deny the jury its core fact-finding function and improperly relieve
21 her of proving a required element of her case, despite numerous factual disputes
22 surrounding that issue.
23          While one may own a copyright even in the absence of a registration, Alaska
24 Stock v. Houghton Mifflin Harcourt Publ’g Co., 747 F.3d 673, 678 (9th Cir. 2014),
25 a valid copyright registration is required to assert a claim for copyright
26 infringement. See 17 U.S.C. § 411(a). Defendants thus also are entitled to present
27 evidence to the jury that Plaintiff’s copyright registration for the film is invalid
28 because an invalid registration is fatal to her lawsuit.

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  1   C.     Whether the Jury May Hear Evidence of the Dispute Between Plaintiff
  2          and Sarah Thorp
  3         Plaintiff has moved the Court to preclude evidence of the dispute between
  4 Plaintiff and Sarah Thorp about the ownership and copyright interest in Emanuel.
  5 See Dkt. 269 (Plaintiff’s Motion In Limine No. 3). On December 20, 2024, the
  6 Court ordered the parties to meet and confer and, if necessary, to submit briefing
  7 addressing the Court’s proposed stipulation regarding Ms. Thorp. Dkt. 361. The
  8 parties were unable to agree following their December 31, 2024 conference and
  9 submitted briefing on January 3, 2025, which remains pending. Dkts. 365, 367.
10          Defendants will not repeat those arguments here other than to emphasize that
11 the probative value of evidence regarding the dispute goes not only to Defendants’
12 unclean hands and improper registration arguments, but also as to substantial
13 similarity, and weighs on Plaintiff’s credibility. Plaintiff’s approximately $5,000
14 payment to Ms. Thorp is relevant for the jury to consider when assessing Plaintiff’s
15 indirect profits claims. Plaintiff’s misstatements—including under oath—regarding
16 Emanuel’s origin and inspiration have high probative value that cuts to the core
17 issues in this case. Fed. R. Evid. 401, 403. It is Defendants who would be
18 prejudiced by their exclusion, not Plaintiff by their inclusion. The Court’s proposed
19 stipulation would present a story to the jury not in conformance with the record in
20 this case. The stipulation would unfairly prevent Defendants from presenting key
21 evidence relevant to their defenses and Plaintiff’s lack of credibility, and it would
22 unfairly allow Plaintiff to misrepresent the “personal” origin of Emanuel. Fed. R.
23 Evid. 401, 608(b).
24    D.     Defendants’ Unclean Hands Defense Should Be Submitted to the Jury
25          Defendants intend to assert the affirmative defense of unclean hands in
26 response to Plaintiff’s claims. Dkt. 305, § II(B)(2). “‘[A] jury trial of the equitable
27 issues [including unclean hands] is within the court’s discretion.’”
28 ConsumerDirect, Inc. v. Pentius, LLC, 2024 WL 3914667, at *4 (C.D. Cal. July 19,

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  1 2024) (quoting Unilogic v. Burroughs Corp., 10 Cal. App. 4th 612, 623 (1992))
  2 (alteration in original). Because Defendants’ unclean hands defense is
  3 “intertwined” with the facts underlying Plaintiff’s claims, “the inter-related
  4 questions of fact and credibility” should be submitted to the jury. ConsumerDirect,
  5 2024 WL 3914667, at *4.
  6         In ConsumerDirect, this Court considered whether plaintiff/counterdefendant
  7 ConsumerDirect’s equitable defense of unclean hands should be decided by the jury
  8 or the Court where it was asserted in response to defendant Array’s legal claim for
  9 intentional interference with prospective business relations with non-party
10 TransUnion. Id. at *2-4. The Court found that both the legal claim and the unclean
11 hands defense “involve[d] the same fact and credibility determinations”—
12 “[s]pecifically, the jury’s adjudication of Array’s legal claim necessarily required
13 the jury to determine whether Array made false representations to TransUnion[.]”
14 The Court thus found that the defense was properly submitted to the jury. Id. at *3-
15 4. See also Unilogic, 10 Cal. App. 4th at 623 (trial court did not err in submitting
16 equitable defense of unclean hands to jury because “all of Burroughs’s theories in
17 support of the unclean hands defense were intertwined with the parties’ legal causes
18 of action and raised questions of fact and credibility properly submitted to a jury”).
19          Here, too, Defendants’ theories in support of their unclean hands defense are
20 intertwined with Plaintiff’s copyright infringement claims and they will require the
21 jury to weigh the same fact and credibility determinations. For instance, the jury
22 must assess the protectability of elements that Plaintiff relies upon in her attempt to
23 show substantial similarity, which also impacts whether Plaintiff has unclean hands
24 in her dealings with Thorp and Defendants. Moreover, whether Plaintiff holds a
25 valid copyright registration, 17 U.S.C. § 411(a), and whether her conduct was
26 inequitable, Fuddruckers v. Doc’s B.R. Others, 826 F.2d 837, 847 (9th Cir. 1987),
27 will both require consideration of evidence concerning Plaintiff’s
28 misrepresentations to the Copyright Office regarding Ms. Thorp’s contributions to

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  1 Emanuel; Plaintiff’s statements before this Court and in her sworn discovery
  2 responses misrepresenting Emanuel’s origin and creation; and her attempts to
  3 conceal Ms. Thorp’s specific contributions to Emanuel.
  4   E.     Other Unresolved Evidentiary Issues and Procedural Disputes
  5         On December 20, 2024, the Court further ordered the parties to meet and
  6 confer and to submit updated jury instructions, a revised verdict form, and a joint
  7 witness list by January 3, 2025. Dkt. 361. The parties have submitted these items
  8 as directed and await further guidance from the Court during the hearing set for
  9 January 7, 2025. Dkts. 374-379.
10          Other unresolved evidentiary and procedural issues that Defendants anticipate
11 raising during the January 7, 2025 hearing include:
12           When to show the jury the full works at trial;
13           The admissibility of certain categories of trial exhibits; and
14           Plaintiff’s improper trial subpoenas to corporate representatives.
15                                         CONCLUSION
16          Ultimately, Plaintiff’s case rests on mischaracterizations of the works at issue
17 and her belief that a whole array of people banded together to steal her little-seen
18 film. Neither the evidence nor the law supports this. Defendants did not copy
19 Emanuel, and Plaintiff is not entitled to a payout based on a series she did not
20 create, much less from episodes that she does not even contend infringe her work.
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